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UNITED STATES DISTRICT COURT

DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION FILED
DEC 98 2005
UNITED STATES OF AMERICA, CR05-40101-02 ON “GLEBE
Plaintiff, FACTUAL BASIS STATEMENT
VS.
STEVEN CRAIG ALEXANDER,

Defendant.

The undersigned parties stipulate that the following facts are true and establish a factual basis
for the plea in the action pursuant to Federal Rules of Criminal Procedure 11(b)(3):

On July 22, 2005, defendant Steven Craig Alexander and others were in possession of
approximately 90 grams of cocaine base (crack cocaine) while in a motel room in Sioux Falls, SD.
Alexander and the others intended to distribute the crack cocaine, but were prevented from doing
so because the police discovered the activity and seized the crack cocaine.

The defendant understands that except as limited by section F of the Plea Agreement filed

herewith, additional quantities of controlled substances may be attributable to him for sentencing

purposes.
MICHELLE G, TAPKEN
United States Attorney
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Date JOHN E. HAA
ssistant United States Attorney
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Date Steven Craig Alexander
Defendant
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Date LC
Attorney for Defendant

